    Case 3:01-cr-00129-LRH-VPC            Document 179       Filed 01/11/08     Page 1 of 1




                           UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
                                   RENO, NEVADA

UNITED STATES OF AMERICA,                           )       3:01-cr-00129-LRH-VPC
                                                    )       3:05-cv-00120-DWH-RAM
                             Plaintiff,             )       3:01-cr-00188-LRH
                                                    )
       vs.                                          )       MINUTES OF THE COURT
                                                    )
GRISELDO ORTIZ-MONROY,                              )       January 11, 2008
                                                    )
                             Defendant.             )
                                                    )

PRESENT:      THE HONORABLE LARRY R. HICKS, U.S. DISTRICT JUDGE
DEPUTY CLERK:          NONE APPEARING                   REPORTER: NONE APPEARING
COUNSEL FOR PETITIONER(S): NONE APPEARING
COUNSEL FOR RESPONDENT(S): NONE APPEARING
MINUTE ORDER IN CHAMBERS:
        Before the court is Government’s Application for Extension of Time (First Request)
(#178) requesting an extension of time, up to and including March 10, 2008, within which to file
its response to Defendant’s 28 U.S.C. § 2255 Petition. The Government’s motion (#178) is
GRANTED.

        The Government shall have up to and including March 10, 2008, in which to file its
response to Defendant’s 28 U.S.C. § 2255 Petition (#154 in 3:01-cr-129 and #29 in 3:01-cr-188).
Defendant GRISELDO ORTIZ-MONROY shall then have thirty (30) days in which to file and
serve reply points and authorities in each case.

                                            LANCE S. WILSON, CLERK

                                            By:             /s/
                                                          Deputy Clerk
